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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

HIND OMAR,

             Plaintiff,                             Case No. 23-
                                                    Hon.

BOARD OF GOVERNORS OF WAYNE
STATE UNIVERSITY, in their individual
and official capacity,

             Defendant.

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           There is no other pending or resolved civil action arising out
            of this transaction or occurrence alleged in the complaint.

                  FIRST COMPLAINT AND JURY DEMAND

      Plaintiff, Hind Omar, by and through her attorneys, NACHTLAW, P.C.,

brings this action against Defendant and states the following:

                                INTRODUCTION

      Plaintiff, Hind Omar (Ms. Omar or the Plaintiff), hereby brings an action for

declaratory and injunctive relief, compensatory damages, attorneys’ fees, and costs
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pursuant to Title II of the Americans with Disabilities Act, 29 U.S.C. 12131, et seq.,

section 504 of the Rehabilitation Act of 1973, as amended, 29 U.S.C. 794, et seq.,

and the Persons with Disabilities Civil Rights Act, Michigan Compiled Laws,

Chapter 37. Civil Rights section 37.1101, et seq., against the Board of Governors of

Wayne State University (the law school, Wayne State University, or the Defendant),

an eight-member Board elected by Michigan voters, which is responsible for

selecting the university presidents, supervising the control and direction of

university funds, setting tuition and other fiscal policies, determining compensation

for services, and conferring degrees, and in support thereof alleges as follows:

                                   JURISDICTION

       1.     This action arises from a violation of Title II of the Americans with

Disabilities Act, 29 U.S.C. 12131, et seq., section 504 of the Rehabilitation Act of

1973, as amended, 29 U.S.C. 794, et seq., and the Persons with Disabilities Civil

Rights Act, Michigan Compiled Laws, Chapter 37. Civil Rights section 37.1101, et

seq. This Court has original jurisdiction pursuant to 28 U.S.C. 1331 and 28 U.S.C.

1343 and supplemental jurisdiction under 28 U.S.C. 2367.

                                      PARTIES

       2.     Plaintiff, Hind Omar, is an individual of the full age of majority residing

in this judicial district.




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       3.     Made Defendant herein is the Board of Governors of Wayne State

University, an eight-member Board elected by Michigan voters, which is responsible

for selecting the university presidents, supervising the control and direction of

university funds, setting tuition and other fiscal policies, determining compensation

for services, and conferring degrees. Wayne State University is a recipient of federal

funding and is domiciled in this district.

                                       VENUE

4.     Venue is appropriate under 28 U.S.C. 1391(b)(1) and (2), as the Defendant is

domiciled in this judicial district, and because a substantial part of the events or

omissions giving rise to the claim occurred in this judicial district.

                               FACTUAL BACKGROUND

       5.     Ms. Omar is disabled at all times material to this Complaint.

       6.     Ms. Omar applied to and was accepted in December of 2022 to attend

Wayne State University Law School for the 2023-2024 school year, which begins in

fall 2023.

       7.     Ms. Omar immediately contacted the law school and Student Disability

Services (SDS) Office to acquire reasonable accommodations.

       8.     Ms. Omar provided proper medical paperwork and a list of

accommodations with an explanation why there are necessary and reasonable for her

specific disabilities.


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      9.     The law school and the SDS office denied the requested

accommodations.

      10.    It became clear that the SDS office was intimidated by the law school

and had a conflict of interest between their duty to students with disabilities and their

aversion to contradicting the law school.

      11.    Ms. Omar’s requested accommodations do not fundamentally alter the

nature of the law school program or any aspect of it, nor does Ms. Omar seek to

forego any essential part of the program.

      12.    Ms. Omar was denied even simple accommodations which she has

routinely been granted for years, including, for example, class notes, and lecture

recordings, and a private testing room for exams.

      13.    The law school’s frequent response to Ms. Omar’s requested

accommodations was, “That is not how we do it here.”

      14.    The law school’s refusal to consider Ms. Omar’s personal

circumstances in deciding whether to accommodate her disability runs counter to the

ADA’s requirement that an individualized inquiry be conducted. See PGA Tour,

Inc. v. Martin, 532 U.S. 661, 663 (2001), citing Sutton v. United Air Lines, Inc., 527

U.S. 471, 483, which in turn cites 29 CFR pt. 1630, App. § 1630.2(j) (“The

determination of whether an individual has a disability is not necessarily based on




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the name or diagnosis of the impairment the person has, but rather on the effect of

that impairment on the life of the individual”).

      15.    Under the relevant legal framework, once a student produces evidence

of an accommodation that would enable her to meet the educational institution’s

essential requirements, the burden then shifts to the institution to produce evidence

that the requested accommodation would require a fundamental modification of its

program or standards.

      16.    Ms. Omar was advised that the requested accommodations would effect

a “fundamental alteration” in the nature of the law school’s course of study.

      17.    The Defendant bears the burden of proof that Ms. Omar’s requested

accommodations would fundamentally alter the law school’s program.

      18.    Under ABA standard 311(e), generally, a law school that does not offer

distance education may grant a student up to one-third of the credit hours required

for the J.D. degree for distance education courses; standard 306(c) provides,

however, that “[r]emote participation in a non-distance education course by a student

as an accommodation provided under law (such as the Americans with Disabilities

Act) . . . shall not cause the course to count towards the distance education credit

limits in Standard 311(e ) for that student.” The Defendant is profoundly confused

on this point.




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      19.    Ms. Omar requested virtual or remote learning, which the law school

relied on for three years during the pandemic, meaning some recent law students

spent their entire law school careers learning exclusively by virtual/remote means.

      20.    The Defendant cannot rationally determine that virtual/remote learning

would require a fundamental modification of the law school’s program or standards,

after relying on virtual/remote learning throughout the COVID-19 pandemic.

      21.    Likewise, virtual/remote participation now generally qualifies as full

participation, so the defendant cannot rationally deny such a request as a

fundamental alteration.

      22.    An SDS representative told Ms. Omar, “We take medical

recommendations into account when we make our personal determination, but we

are ultimately the specialists in our field. We decide what’s reasonable and what’s

unreasonable.” By contrast, in Argenyi v. Creighton Univ., 703 F.3d 441, 446 (8th

Cir. 2013), the Court stated, “the individual with a disability is most familiar with

his or her disability and is in the best position to determine what type of aid or service

will be effective,” citing U.S. Dept of Justice, The Americans with Disabilities Act

Title II Technical Assistance Manual, at II-7.1100 (1993). In Argenyi, the Court

explained that the ADA and the Rehabilitation Act require a University to “start by

considering how [its educational programs] are used by non-disabled [students] and




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then take reasonable steps to provide [the students] with a like experience. 703 F.3d

at 450.

        23.   The Defendant effectively invited Ms. Omar to quit her attempts to

enter the program, stating, “Finally, to the extent that Ms. Omar wishes to withdraw

from the program, the Law School is willing to refund her deposit under the

circumstances.

                       COUNT I -- ADA TITLE II VIOLATION

        24.   Ms. Omar incorporates the preceding allegations as if fully set forth

herein.

        25.   Ms. Omar is an individual with numerous disabilities, including

blindness and chronic mental illness diagnoses. These conditions substantially limit

Ms. Omar’s major life activities and are “qualified disabilities” under the relevant

laws.

        26.   The ADA was passed as a clear and comprehensive national mandate

for the elimination of discrimination against individuals with disabilities.

        27.   Title II of the ADA prohibits discrimination against qualified persons

with disabilities in the provision of public services, programs, and activities,

including a public university in its educational programs that are available to

students.




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       28.    Persons with disabilities are “qualified” if, “with or without reasonable

modifications to rules, policies, or practices, the removal of architectural,

communication, or transportation barriers, or the provision of auxiliary aids and

services,” they meet the essential requirements for the services, programs, or

activities.

       29.    Congress stated in the ADA that Eleventh Amendment immunity

would not apply to suits brought under the ADA. 42 U.S.C. 12202.

       30.    Education is perhaps the most important function of state and local

governments.

       31.    Ms. Omar has suffered injury as a direct result of being disallowed from

participating in law school due to the defendant’s unlawful discrimination

manifested through its failure to grant reasonable accommodations in violation of

ADA Title II’s requirements.

       32.    Ms. Omar’s injury will be partially redressed by the Court ordering

defendant to comply with the relevant laws.

       33.    Ms. Omar will suffer continued and ongoing discrimination if the

defendant is not required immediately to comply with the relevant laws.

       34.    Ms. Omar has suffered damages and injury and will continue to suffer

damages including loss of income and earning capacity, injury to her reputation, and




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other losses because of the defendant’s unlawful acts set forth herein and to be

proved at trial.

        35.   Ms. Omar has retained undersigned counsel for the filing and

prosecution of this action. Ms. Omar is entitled to have her attorneys’ fees, costs,

and expenses paid by Defendant pursuant to 42 U.S.C. 12205.

        COUNT II – SECTION 504 OF THE REHABILITATION ACT OF 1973

        36.   Ms. Omar incorporates the preceding allegations as if fully set forth

herein.

        37.   Ms. Omar is an individual with numerous disabilities, including

blindness and chronic mental illness diagnoses. These conditions substantially limit

Ms. Omar’s major life activities and are “qualified disabilities” under the relevant

laws.

        38.   Section 504 of the Rehabilitation Act of 1973 is a civil rights law

prohibiting discrimination based on disability. It stipulates various protections and

procedural safeguards for people with disabilities from being treated unfairly or

denied access to services or benefits. Created as legislation to help citizens with

impairments, Section 504 applies to all aspects of an individual’s life, including

education, employment, and access to public services.

        39.   A covered entity under Section 504 is any private or public entity that

receive federal financial assistance, including but not limited to colleges and


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universities. The Defendant is a covered entity under Section 504 the Rehabilitation

Act.

       40.    As a civil rights law that prohibits discrimination based on disability,

Section 504 means that covered entities must provide individuals with disabilities

equal access to their programs, services, and activities. They cannot exclude or

otherwise disadvantage individuals with disabilities, and they must make reasonable

accommodations to ensure that individuals with disabilities have an equal

opportunity    to   participate.   Covered     entities   must   provide   reasonable

accommodations unless doing so would fundamentally alter the nature of the

program, service, or activity or would impose an undue hardship on the entity.

       41.    Ms. Omar has suffered injury as a direct result of being disallowed from

participating in law school due to the defendant’s unlawful discrimination

manifested through its failure to grant reasonable accommodations in violation of

Section 504 of the Rehabilitation Act’s requirements.

       42.    Ms. Omar’s injury will be partially redressed by the Court ordering

defendant to comply with the relevant laws.

       43.    Ms. Omar will suffer continued and ongoing discrimination if the

defendant is not required immediately to comply with the relevant laws.

       44.    Ms. Omar has suffered damages and injury and will continue to suffer

damages including loss of income and earning capacity, injury to her reputation, and


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other losses because of the defendant’s unlawful acts set forth herein and to be

proved at trial.

       45.    Ms. Omar has retained undersigned counsel for the filing and

prosecution of this action. Ms. Omar is entitled to have her attorneys’ fees, costs,

and expenses paid by Defendant pursuant to 29 U.S.C. 794a.

     COUNT III – MICHIGAN PERSONS WITH DISABILITIES CIVIL
                            RIGHTS ACT
      46. Ms. Omar incorporates the preceding allegations as if fully set forth

herein.

       47.    Michigan courts view federal civil rights law as persuasive authority in

interpreting Michigan civil rights law. Harrison v. Olde Financial, 225 Mich App

601, 606 (1997). The Michigan Court of Appeals and the Michigan Supreme Court

have noted that the ADA and the PDCRA share the same purpose and use similar

definitions and analyses, and both courts have relied on the ADA in interpreting the

PDCRA. Chiles v. Mach Shop, Inc., 238 Mich App 462, 472; 606 N.W.2d 398, 405

(Mich. Ct. App. 1999). Eagle v. Hurley Med. Ctr., Case No. 12-13704, 20 (E.D.

Mich. Jun. 27, 2013).

       48.    Section 102 of the PDCRA provides that the “opportunity to obtain full

and equal utilization of . . . educational facilities without discrimination because of

a disability is guaranteed by this act and is a civil right” and that “a person shall




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accommodate a person with a disability for purposes of . . . education . . . unless the

person demonstrates that the accommodation would impose an undue hardship.”

      49.      Section 401 of the Act defines "educational institution" as meaning “a

public or private institution or a separate school or department of a public or private

institution, includes an academy, college, elementary or secondary school, extension

course, kindergarten, nursery, school system, school district, or university, and a

business, nursing, professional, secretarial, technical, or vocational school, and

includes an agent of an educational institution.”

      50.      Section 402 of the Act provides in relevant part that “[a]n educational

institution shall not do any of the following:

            a. Discriminate in any manner in the full utilization of or benefit from the
               institution, or the services provided and rendered by the institution to
               an individual because of a disability that is unrelated to the individual's
               ability to utilize and benefit from the institution or its services, or
               because of the use by an individual of adaptive devices or aids.

            b. Exclude, expel, limit, or otherwise discriminate against an individual
               seeking admission as a student or an individual enrolled as a student in
               the terms, conditions, and privileges of the institution, because of a
               disability that is unrelated to the individual's ability to utilize and
               benefit from the institution, or because of the use by an individual of
               adaptive devices or aids.”

      51.      Under Section 606 of the Act,

              “(1) A person alleging a violation of this act may bring a civil
      action for appropriate injunctive relief or damages, or both.
              (2) An action commenced pursuant to subsection (1) may be
      brought in the circuit court for the county where the alleged violation


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       occurred, or for the county where the person against whom the civil
       complaint is filed resides or has his or her principal place of business.
               (3) As used in subsection (1), ‘damages’ means damages for
       injury or loss caused by each violation of this act, including reasonable
       attorneys' fees.”


       52.    Ms. Omar has suffered injury as a direct result of being disallowed from

participating in law school due to the defendant’s unlawful discrimination

manifested through its failure to grant reasonable accommodations in violation of

the PDCRA’s requirements.

       53.    Ms. Omar’s injury will be partially redressed by the Court ordering

defendant to comply with the relevant laws.

       54.    Ms. Omar will suffer continued and ongoing discrimination if the

defendant is not required immediately to comply with the relevant laws.

       55.    Ms. Omar has suffered damages and injury and will continue to suffer

damages including loss of income and earning capacity, injury to her reputation, and

other losses because of the defendant’s unlawful acts set forth herein and to be

proved at trial.

       56.    Ms. Omar has retained undersigned counsel for the filing and

prosecution of this action. Ms. Omar is entitled to have her attorneys’ fees, costs,

and expenses paid by Defendant pursuant to PDCRA section 606.




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                                    DEMAND FOR RELIEF

        WHEREFORE, Plaintiff, Hind Omar, respectfully requests that after due

proceedings are had there be judgment rendered in her favor against Wayne State

University to include the following:

   a.     a declaration that the defendant is in violation of the ADA, Section 504 of
          the Rehabilitation Act, and the PDCRA;

   b.     an order requiring the defendant to grant Ms. Omar’s requests for
          reasonable accommodations and enroll and participate in law school in
          pursuit of a Juris Doctor degree;

   c.     an order directing the defendant to evaluate and neutralize its policies,
          practices, and procedures toward persons with disabilities in accordance
          with applicable law;

   d.     an award of all damages to which Ms. Omar is entitled under law and at
          equity, including compensatory damages, an award of attorneys’ fees,
          costs, and other expenses of this litigation;

   e.      an award of all other legal, general, and equitable relief as the Court deems
          just and proper.

                                  JURY DEMAND

        Plaintiff Jane Doe, by and through her attorneys, NACHTLAW, P.C., hereby

demands a trial by jury of the issues in the above-captioned cause of action.

                                                      Respectfully submitted,

                                                      /s/ Scott D. Wilson
                                                      Scott D. Wilson
                                                      NACHTLAW, P.C.
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